 Case 1:19-cv-10467-TLL-PTM ECF No. 4 filed 03/05/19          PageID.45     Page 1 of 2




                           UNITED STATES DISTRICT COURT
                       IN THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

HEATHER KIRBY,

         Plaintiff,

vs.
                                                       Case No. 1:19-cv-10467
TRANS UNION, L.L.C., CADILLAC ACCOUNTS                 Judge Thomas L. Ludington
RECEIVABLE MANAGEMENT, INC., CREDIT                    Magistrate Judge Patricia T. Morris
BUREAU OF MT. PLEASANT, INC., MITCHELL D.
BLUHM & ASSOCIATES, LLC, CMB SERVICES,
INC;

         Defendants.

                                     APPEARANCE

         Please enter the Appearance of Maddin, Hauser, Roth & Heller, P.C. by Brian A.

Nettleingham, as local counsel, on behalf of Defendant, Trans Union, LLC, in the above-

entitled matter.

                                         Respectfully Submitted,

                                         MADDIN, HAUSER, ROTH & HELLER, P.C.

                                                /s/ Brian A. Nettleingham
                                         By: Brian A. Nettleingham
                                         Local Counsel for Trans Union, LLC
                                         28400 Northwestern Hwy., 3rd Floor
                                         Southfield, Michigan 48034
                                         (248) 359-7503
                                         E-Mail: bnettleingham@maddinhauser.com
                                         Attorney Bar No. P58966
Dated: March 5, 2019


01740086 v1   1
 Case 1:19-cv-10467-TLL-PTM ECF No. 4 filed 03/05/19           PageID.46    Page 2 of 2




                             CERTIFICATE OF SERVICE

      I hereby certify that on March 5, 2019, I caused to be electronically filed the
   above document(s) with the Clerk of the Court using the ECF system, which will
   automatically send notice of such filing to counsel of record.

     I DECLARE THAT THE FOREGOING STATEMENT IS TRUE AND ACCURATE
   TO THE BEST OF MY INFORMATION, KNOWLEDGE AND BELIEF.

                                        MADDIN, HAUSER, ROTH & HELLER, P.C.

                                               /s/ Brian A. Nettleingham
                                        By: Brian A. Nettleingham
                                        Local Counsel for Trans Union, LLC
                                        28400 Northwestern Hwy., 3rd Floor
                                        Southfield, Michigan 48034
                                        (248) 354-4030
                                        E-Mail: bnettleingham@maddinhauser.com
                                        Attorney Bar No. P58966




01740086 v1   2
